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 Dalvik JIT
                                                                                               Tags
 Posted by Tim Bray on 25 May 2010 at 2:57 PM
                                                                                               Android 1.5 (15)
 [This post is by Dan Bornstein, virtual-machine wrangler. — Tim Bray]
                                                                                               Android 1.6 (10)
 As the tech lead for the                                                                      Android 2.0 (3)
 Dalvik team within the                                                                        Android 2.1 (2)
 Android project, I spend                                                                      Android 2.2 (2)
 my time working on the                                                                        Android 2.3 (1)
 virtual machine (VM)
                                                                                               Android 2.3.3 (1)
 and core class libraries
                                                                                               Android 3.0 (3)
 that sit beneath the
 Android application                                                                           Android 3.2 (3)
 framework. This layer is                                                                      Android Developer Challenge (19)
 mostly invisible to end                                                                       Android Developer Phone (2)
 users, but done right, it                                                                     Android Market (15)
 helps make Android                                                                            Announcements (37)
 devices run smoothly
                                                                                               Apps (18)
 and improves
 developer productivity.                                                                       Boston (2)
                                                                                               Code Day (4)
 The 2.2 release is particularly pleasing to me, as it is the first release since before 1.0   Cool Stuff (1)
 in which we have been able to deliver significantly new VM technology. And unlike             Dashboard (1)
 much of what my team and I do, it is something that can be experienced directly by
                                                                                               Debugging (1)
 end users.
                                                                                               Developer Days (1)
 “Dalvik” isn’t exactly a household word (at least in my country), and most people             Developer Labs (3)
 wouldn’t know a virtual machine if it hit them in the face, but when you tell them you        Developer profiles (4)
 were able to make their existing device work better — run faster, use less battery —          Gestures (1)
 they will actually take notice!
                                                                                               Google I/O (4)
 What Makes This Possible?                                                                     Guidelines (2)
                                                                                               How-to (24)
 We added a Just In Time (JIT) compiler to the Dalvik VM. The JIT is a software                Input methods (2)
 component which takes application code, analyzes it, and actively translates it into a        Intents (2)
 form that runs faster, doing so while the application continues to run. If you want to
                                                                                               io2010 (2)
 learn more about the design of the Dalvik JIT, please watch the excellent talk from
                                                                                               JNI (1)
 Google I/O 2010 given by my colleagues Bill Buzbee and Ben Cheng, which should
 be posted to YouTube very soon.                                                               Layout (2)
                                                                                               Location (1)
 To be clear, the differences aren’t always dramatic, nor do they apply uniformly to all       London (2)
 applications. Code that is written to run the CPU all-out can now do more in the same
                                                                                               Mountain View (1)
 amount of time (running faster), and code that is written to be rate-limited can get its
                                                                                               Munich (1)
 work done using less time and less of the CPU (using less battery). On the

http://android-developers.blogspot.com/2010/05/dalvik-jit.html                                                                     9/1/2011
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 performance front in particular, we have seen realistic improvements of 2x to 5x for        NDK (6)
 CPU-bound code, compared to the previous version of the Dalvik VM. This is                  Open source (1)
 equivalent to about 4x to 10x faster than a more traditional interpreter implementation.    OpenGL ES (2)
 The team is proud of our new JIT in general, but we are especially proud of two             Optimization (11)
 aspects of it:                                                                              Quick Search Box (1)
                                                                                             Resources (1)
 Many previous JIT implementations react slowly, delivering performance                      Sample code (1)
 improvements only after a long warm up period. In the extreme, it can be minutes or
                                                                                             SDK updates (21)
 even hours before the code is fully up to speed. On the other hand, the Dalvik JIT
 reacts quickly, so that mere moments after you hit the “Start” button on your favorite      Speech Input (1)
 game, you are already benefiting from the work of the JIT.                                  Tel Aviv (1)
                                                                                             Text-to-Speech (1)
 We are also very pleased with how little memory the JIT uses. The code for the JIT          User Interface (19)
 itself is well under 100k, and each process that the JIT runs in will typically only use
                                                                                             Widgets (2)
 another 100k or so of RAM. On the current generation of Android phones, device
 users won’t even notice this additional memory usage; on my own phone, I can still
 have literally dozens of applications warmed up in memory and ready to go.                  Archives
 The Dalvik team isn’t resting on its laurels, either. We are hoping to see the Dalvik JIT
                                                                                             ► 2011 (44)
 deployed on many devices in the coming months. Looking forward, the team has an
 endless list of ideas for making the VM and library code better, which we are diligently    ▼ 2010 (73)
 working on.                                                                                   ► Dec (8)
                                                                                               ► Nov (3)
                                                                                               ► Oct (4)
 TRACKBACKS
                                                                                               ► Sep (8)
    Froyo + G1 = EPIC FAIL                                                                     ► Aug (6)
    Android 2.2
                                                                                               ► Jul (10)
    Android 2.2 “Froyo”
    Going Deeper With Android 2.2's JIT Compiler                                               ► Jun (11)
    Dalvik and JIT on Android                                                                  ▼ May (11)
                                                                                                 On Android Compatibility
 Create a Link
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                                                                                                  Dalvik JIT
                                                                                                  Android Application Error Reports
                                                                                                  Android 2.2 and developers
                                                                                                    goodies.
                                                                                                  The Google TV Story
                                                                                                  Latitude API Launch
                                                                                                  Stand By...
                                                                                                  Twitter for Android: A closer look at
                                                                                                    Android’s ev...
                                                                                                  Be Careful With Content Providers
                                                                                                  Taking the Android Show on the
                                                                                                    Road

                                                                                               ► Apr (2)
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                                                                                               ► Feb (2)
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http://android-developers.blogspot.com/2010/05/dalvik-jit.html                                                               9/1/2011
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